Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 1 of 23 PageID 4
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 2 of 23 PageID 5
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 3 of 23 PageID 6
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 4 of 23 PageID 7
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 5 of 23 PageID 8
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 6 of 23 PageID 9
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 7 of 23 PageID 10
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 8 of 23 PageID 11
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 9 of 23 PageID 12
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 10 of 23 PageID 13
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 11 of 23 PageID 14
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 12 of 23 PageID 15
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 13 of 23 PageID 16
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 14 of 23 PageID 17
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 15 of 23 PageID 18
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 16 of 23 PageID 19
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 17 of 23 PageID 20
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 18 of 23 PageID 21
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 19 of 23 PageID 22
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 20 of 23 PageID 23
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 21 of 23 PageID 24
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 22 of 23 PageID 25
Case 3:14-cv-01256-TJC-PDB Document 3 Filed 08/01/19 Page 23 of 23 PageID 26
